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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             4:01CR3092-2
                                              )
               Plaintiff,                     )
vs.                                           )             MEMORANDUM
                                              )             AND ORDER
VITALIY S. LUKYANOV,                          )
                                              )
               Defendant.                     )

       This matter came on to consider the defendant’s motion to terminate supervised
release (filing 175). Having considered the matter, and there being no objections by the U.S.
Probation Offices for the District of Nebraska and District of Kansas, nor by the government,

         IT IS ORDERED that:

         (1)   The defendant’s motion to terminate supervised release (filing 175) is granted.

         (2)   Defendant Lukyanov’s term of supervised release is terminated as of this date.

       (3)     The Clerk of Court shall provide a certified copy of this memorandum and
order to the following persons:

               Roderick Freeman
               United States Probation Officer
               M-35 Robert J. Dole U.S. Courthouse
               500 State Ave.
               Kansas City, KS 66101-2400

               Mike Spike
               Supervising Agent
               Intensive Supervision Appearance Program
               Behavioral Interventions, Inc.
               1734 E. 63rd St. Ste. 300
               Kansas City, MO 64110
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    (4)    The Clerk shall provide notice of this order to counsel of record in this case via
CM/ECF.

     DATED this 20th day of May, 2005.

                                                BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
